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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11

ENERGY FUTURE HOLDINGS CORP., et ai.,' Case No. 14-10979 (CSS)

Debtors. (Jointly Administered)

Hearing Date: August 16, 2016 at 10:00 a.m.
Objection Deadline: August 9, 2016 at 4:00 p.m.

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NOTICE OF “MOTION OF ENERGY FUTURE HOLDINGS CORP., ET AL., FOR
ENTRY OF AN ORDER (1) SCHEDULING HEARING DATES AND CERTAIN
DEADLINES AND ESTABLISHING CERTAIN PROCEDURES IN CONNECTION
WITH ADJUDICATING CONTESTED OBJECTIONS TO PRO SE CLAIMS
AND (I) APPROVING NOTICE THEREOF” AND HEARING THEREON

PLEASE TAKE NOTICE that, on July 26, 2016, the above-captioned debtors and

debtors in possession (collectively, the “Debtors’’) filed the attached Motion of Energy Future

Holdings Corp., et al., for Entry of an Order (I) Scheduling Hearing Dates and Certain
Deadlines and Establishing Certain Procedures in Connection With Adjudicating
Contested Objections to Pro Se Claims and (II) Approving Notice Thereof (the “Motion”)

with the United States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”).

PLEASE TAKE FURTHER NOTICE that any responses or objections to the Motion
must be in writing, filed with the Clerk of the Bankruptcy Court, 824 North Market Street, 3
Floor, Wilmington, Delaware 19801, and served upon and received by the undersigned co-

counsel for the Debtors on or before August 9, 2016 at 4:00 p.m. (Eastern Daylight Time).

' The last four digits of Energy Future Holdings Corp.’s tax identification number are 8810. The
location of the debtors’ service address is 1601 Bryan Street, Dallas, Texas 75201. Due to the large
number of debtors in these chapter 11 cases, for which joint administration has been granted, a complete
list of the debtors and the last four digits of their federal tax identification numbers is not provided herein.
A complete list of such information may be obtained on the website of the debtors’ claims and noticing
agent at http://www.efhcaseinfo.com.

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PLEASE TAKE FURTHER NOTICE that if an objection is timely filed, served and
received and such objection is not otherwise timely resolved, a hearing to consider such
objection and the Motion will be held before The Honorable Christopher S. Sontchi at the
Bankruptcy Court, 824 North Market Street, 5h Floor, Courtroom 6, Wilmington, Delaware
19801 on August 16, 2016 at 10:00 a.m. (Eastern Daylight Time).

IF NO OBJECTIONS TO THE MOTION ARE TIMELY FILED, SERVED AND
RECEIVED IN ACCORDANCE WITH THIS NOTICE, THE BANKRUPTCY COURT MAY
GRANT THE RELIEF REQUESTED IN THE MOTION WITHOUT FURTHER NOTICE OR

HEARING.

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Dated: July 26, 2016
Wilmington, Delaware

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